Case 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 1 of 18

FILED

Martin Ware , (4-13103) ASUb)-001Z3L

Name and Prisoner/Booking Number AUG 2 5 2016
Kern Valley state prison
CLERK, U.S. DISTRICT COURT A

Place of Confinement SENG
EASTERN DISTRIOT OF
P.0. Box. 3130 BY aa i

Mailing Address

Delano, CA 43216

City, State, Zip Code

DEPUTY GLBA

(Failure to notify the Court of your change of address may result in dismissal of this action.)

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

Martin Ware
(Full Name of Plaintiff) Plaintiff, )
v. CASE NO. 27.\\0-CN-7T CRO K SS
) (To be supplied by the Clerk)
(1) M Bitter Warden HNS#, inter alia . +)
(Full Name of Defendant) )
(2) C: Pfei fFFer replacing Warden Bitter, G._, )
JHuye. A.W. S.usher cel, A.Garcia cb, BE. ) CIVIL RIGHTS COMPLAINT
(3) Perez, CCU, Defarnok cc) Vi-Aaufman,, ) BY A PRISONER &
Col, M.FaulwAnercen, M- Contreras cect, ) pursuant to 2¢ W.3.C. £1UI56g)
(4) D.Davey CDW .) proceed) Non-paid Informa
Defendant(s). ) Pauperis under timminent danger
(I check if there are additional Defendants and attach page 1-A listing them. ) or serious harm &e Wnaupport of 1933

Plaintiff is geening declaratory.
injunction, Money awards charlenging
staje-wide prison policy govern
A. JURISDICTION (j4A),(HAC) DEMANA for JUTY THAL
1. This Court has jurisdiction over this action pursuant to:
428 U.S.C. § 1343(a); 42 U.S.C. § 1983
L] 28 U.S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971).

L] Other:

2.  Institution/city where violation occurred: Kern Valley Strate. prison

Revised 3/15/2016 1
Case 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 2 of 18

B. DEFENDANTS See Page 274 bisting them

1. Name of first Defendant: Christian Pfeiffer . The first Defendant is employed as:
Correctional Wardenta) at Hern Valley stttte pri soln
(Position and Title) (Institution)
2. Name of second Defendant: G. SAME, . The second Defendant is employed as:
Correctional Aeééciate. warden at Yern Valley stelle prison
(Position and Title) (Institution)
3. Name of third Defendant: J. Usher . The third Defendant is employed as:
Correctional Counselor I at Hern Valley state prison
(Position and Title) (Institution)
4. Name of fourth Defendant: A. Qarej a . The fourth Defendant is employed as:
Correctional officer Housing unit Flor star at Kern Vall ey state, prison
(Position and Title) (Institution)

If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.

C. PREVIOUS LAWSUITS See page 2-6 Listing them
1. Have you filed any other lawsuits while you were a prisoner? ves [] No

2. If yes, how many lawsuits have you filed? 3x ‘_. Describe the previous lawsuits:

a. First prior lawsuit:
l. Parties: v.
2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

b. Second prior lawsuit:
1. Parties: V.
2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

c. Third prior lawsuit:
1. Parties: v.
2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

If you filed more than three lawsuits, answer the questions listed above for each additional lawsuit on a separate page.

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Icase 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 3 of 18

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B. Dendants Page 2-A

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af Kern valley State.

5. Name of FIFTH Defendant: E. perez,
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° 2. Name ef seventh Defendant’ Ki. Hau man The. SeveniTHt Defendant is employed
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7 [Poe Name oF eight DerendanF: M. FagiAner. the. eighth Befendant fg empleyed

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ih. an. Name of Teal Defendant i D-Davey. “the. Tear Defendant 1s employed
43: Corvectional Ghief Deputy warden at Kern Valley stéfte prison

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D. CAUSE OF ACTION

CLAIM I
1. State the constitutional or other federal civil vi right that was violated: due process equal protection
urider the. cia rf

2. Claim I. Identify the issue involved. Check only one. State additional issues in separate claims
[Y Basic necessities C] Mail L] Access to the court [] Medical care
LJ Disciplinary proceedings LJ Property LJ Exercise of religion [Retaliation
L] Excessive force by an officer [WT hreat to safety LJ) Other:

3.

Supporting Facts. State as briefly as possible the FACTS supporting Claim I. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
authority or arguments.

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in Pela, california. ,

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based Inet 9 With other Atro~America. S.A Inmates and because, plaintiff

Sa Mi ial IC dd hate.
See page 3-A
4,

Injury. State how you were injured by the actions or inactions of the Defendant(s).
Known V5 of harm, Nxiety . humiliation -and Emotional Mental pain

5. Administrative Remedies:

a. Are there any administrative remedies (grievance procedures or administrative appeals) available at your
institution? Yes LI No
b. Did you submit a request for administrative relief on Claim I? Yes [No
c. Did you appeal your request for relief on Claim I to the highest level? MtYes LINo
d. If you did submit or appeal a request for administrative relief at tan level, briefly explain
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fase 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 7 of 18
D. Cause oPActiON Page 3-A

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pase 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 8 of 18

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pase 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 9 of 18

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Case 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 10 of 18
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37. AS fo the. claim in par agraph 36. Defendant TaNEPE, abd dePendant
Perez. denied Plainkife 4 iff request .
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pase 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 11 of 18

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ese 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 12 of 18

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| ¢2. on ocrabeyt felouyary 26,2016 Defendant Perez. agin Iwformed

Plaintiff that appeal log # YysP-0-I5- 03517 Was rejected because
it exceeded the. regular time limit in resubmitting appeal .

- ON cr about January 23, 20j6 Defendant Perez informed plaintiAe

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date of march 64, Zolb.

. ON er about March 24, Zolb Defendant Peree- agin informed plaintiPé

the cancellation appeal wat Accepted by sending 4 Inmate. appeal
Assignment Nétice, approved Fer Setond level respense. with a due,

of may 64, Zoig

65. On or abaiif April 18, Zoie Defendant Perez. agin informed PlaintiFe

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and return 4 rejected appeal within 30 days.

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Case 1:16-cv-01302-DAD-SAB Document 1 Filed 08/25/16 Page 14 of 18

CLAIM II
1. State the constitutional or other federal civil right that was violated: failuvete protect
ei © 3. a sfitud

2. Claim II. Identify the issue involved. Check only one. State additional issues in separate claims.
[Basic necessities LJ Mail L] Access to the court [-] Medical care
C Disciplinary proceedings LJ] Property L] Exercise of religion J Retaliation
L] Excessive force by an officer [4 Threat to safety L] Other:

3. Supporting Facts. State as briefly as possible the FACTS supporting Claim II. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
authority or arguments.

66. On or aloout auguaT 14, 2 Defendant fauliner informed plainti Ff during Said

4 war é

4. Injury. State how you were injured by the actions or inactions of the Defendant(s).
Anown Vigk @F harm , anxiety chumitiation and Emotional Mental jae) .

5. Administrative Remedies.
a. Are there any administrative remedies (grievance procedures or administrative appeals) available at your

institution? [Ll Yes LI No
b. Did you submit a request for administrative relief on Claim II? [] Yes LJ No
c. Did you appeal your request for relief on Claim II to the highest level? [] Yes LINo

d. Ifyou did net submit or appeal a request for administrative relief at any level, briefly explain whyyou
ditmet, 49 Stated evi page

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CLAIM III

1. State the constitutional or r other federal civil Ten that was violated: due process equal protection —

2. Claim III. Identify the issue involved. Check only one. State additional issues in separate claims.
Basic necessities CJ Mail [] Access to the court L] Medical care
I Disciplinary proceedings C] Property C] Exercise of religion [#7 Retaliation
L] Excessive force by an officer [1 Threat to safety [7 other: Classification assessment For

a Fecktity threat group ¢ eer Heanionl

3. Supporting Facts. State as briefly as possible the FACTS supporting Claim III. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
authority or arguments.
67,_On er-about Rugugy 18,2015 DeFendanf-Cantrerag asked platnfitf during 4 pre schedute
NUNES ond aprived Plalntfh ts #3 4 CDR 2260 aduleement oF eupPet AV OM Ss

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4. Inj jury. State how you were injured by the actions or inactions of the Defendant(s).

5. Administrative Remedies.
a. Are there any administrative remedies (grievance procedures or administrative appeals) available at your

institution? [4Yes LI No
b. Did you submit a request for administrative relief on Claim III? [4Yes LINo
c. Did you appeal your request for relief on Claim III to the highest level? OYes [¥No

d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
did not. _CAAlced/ed based on usproper screemilg from Zoy, and 20/3 Che keg-G°
States gang afi ahow

If you assert more than three Claims, answer the questions listed above for each additional Claim on a separate page.
Case 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 16 of 18

E. REQUEST FOR RELIEF See page. ¢-A

State the relief you are seeking:

Wherefore. - -plaintife respect Fully prays ‘this cauirt

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D. Grant % le levator CHC
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initial Housing and una. 9 ever ain hei GNGAHON B.TE, 2 privet screesinig
I declare under penalty of perjury that the foregoing is true and correct.
Executed on August ZI, ZOle SuUNday 3/wW. Wattin Laie,

DATE : SIGNATURE OF PLAINTIFF
Martin Wave. prose.

(Name and title of paralegal, legal assistant, or
other person who helped prepare this complaint)

(Signature of attorney, if any)

(Attorney’s address & telephone number)

ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. If you need more space you may attach
more pages, but you are strongly encouraged to limit your complaint to twenty-five pages. If you attach
additional pages, be sure to identify which section of the complaint is being continued and number all pages.
Remember, there is no need to attach exhibits to your complaint.

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Request for Relief Page 6~A

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Case 1:16-cv-01302-DAD-SAB Document1 Filed 08/25/16 Page 18 of 18

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

Martin ware:

Plantier

Case Number:

M. Bitter KHSP. warden inier-atiy

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Defendant or Attorney Served)

I declare under penalty of perjury that the foregoing is true and correct

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Marin Wave , (HASIO3) ASUbTOOIZSL

(Signature of Person Completing Service)

